                                       United States Bankruptcy Court
                                            District of Oregon
In re:                                                                                  Case No. 19-34296-pcm
Creative Lighting Solutions, Inc.                                                       Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0979-3           User: Admin.                 Page 1 of 2                   Date Rcvd: Jun 05, 2020
                               Form ID: pdf018              Total Noticed: 56

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 07, 2020.
db             +Creative Lighting Solutions, Inc.,     22365 SW Fisk Terrace,     Sherwood, OR 97140-8059
cr             +Columbia Brands USA, LLC,     c/o Erick Haynie,    Perkins Coie LLP,
                 1120 NW Couch St., 10th Floor,     Portland, OR 97209-4128
102037632      +Alameda Electric,    3415 NE 44th Ave.,     Portland, OR 97213-1140
102037633      +Aleddra Inc.,    2210 Lind Ave. SW,    Suite 109,    Renton, WA 98057-3326
102037634      +Big Leaf Networks,    888 SW 5th Ave., Ste. 1600,      Portland, OR 97204-2030
102037635       Books To Go Bookkeeping,     801 SW Nyberg St. #218,     Tualatin, OR 97062
102037636      +Buckley Law, P.C.,    5300 Meadows Rd.,     Suite 200,    Lake Oswego, OR 97035-8225
102037638      +Carson Oil Co.,    PO Box 6030,    Portland, OR 97228-6030
102037640      +Christenson Electric, Inc,     c/o Thomas Larkin,    2300 SW First Ave Suite 200,
                 Portland, OR 97201-5047
102037639      +Christenson Electric, Inc,     17201 NE Sacramento St,     Portland, OR 97230-5941
102076042      +Christenson Electric, Inc.,     Stewart Sokol & Larkin LLC,     2300 SW 1st Ave., Suite 200,
                 2300 SW 1st Ave, Suite 200,     Portland, OR 97201-5047
102037641       Citibank NA,    PO Box 6241,    Sioux Falls, SD 57117-6241
102037642      +Colonial Life,    4445 SW Barbur Blvd. #105,     Portland, OR 97239-4020
102073563      +Columbia Brands USA, LLC,     c/o Erick Haynie,    1120 NW Couch St., 10th Floor,
                 Portland, OR 97209-4128
102037643       Columbia Sportwear,    14375 NW Science Dr,     Portland, OR 97229
102073295      +Columbia State Bank,    PO Box 470,    Salem, OR 97308-0470
102037644      +Columbia State Bank,    1301 A St #100,     Tacoma, WA 98402-4216
102039741      +Creative Lighting Solutions Inc.,     901 NE 60th Ave,     Portland, OR 97213-4303
102037645      +Daimler / Mercedes Benz Financial Svcs.,      PO Box 5260,    Carol Stream, IL 60197-5260
102037646      +Dave Boxley,    819 SE 14th Loop, Suite 101-M,     Battle Ground, WA 98604-4891
102041297     ++FORD MOTOR CREDIT COMPANY,     P O BOX 62180,    COLORADO SPRINGS CO 80962-2180
               (address filed with court: Ford Motor Credit Company, LLC,        PO BOX 62180,
                 Colorado Springs, CO 80962-4400)
102037647      +Fleco,   2055 Luna Rd.,    Suite 142,    Carrollton, TX 75006-6436
102037648      +Ford Motor Credit,    PO Box 552679,    Detroit, MI 48255-2679
102037650      +Fulham Co.,    PO Box 845686,    Los Angeles, CA 90084-5686
102037651      +Fusion Connect Inc,    c/o Registered Agent Solutions, Inc.,      9 E. Loockerman St #31,
                 Dover DE 19901-8306
102037652     #+GlobaLux Lighting,    2037 S Vineyard Ave.,     Ontario, CA 91761-8066
102037653      +Graybar Portland,    901 NE 60th Ave.,    Portland, OR 97213-4303
102037654      +Haulaway Storage,    18420 SW. 126th Place,     Tualatin, OR 97062-6077
102037656      +Main Electric,    3600 W Segerstrom Ave.,     Santa Ana, CA 92704-6408
102037657      +Main Electric,    c/o H. Lee Cook,    4207 SE Woodstock Blvd 423,     Portland, OR 97206-6267
102068763      +Main Electric Supply Company, LLC,     James Wakefield,     c/o Cummins & White, LLP,
                 2424 S.E. Bristol St, Suite 300,     Newport Beach, CA 92660-0764
102037658      +McFarlands Mobile Mechanics,     9595 SW Tualatin-Sherwood Rd.,     Tualatin, OR 97062-8560
102079387      +Mercedes-Benz Financial Services USA LLC,      c/o Randall P. Mroczynski,
                 Cooksey, Toolen, Gage, Duffy & Woog,     535 Anton Boulevard, 10th Floor,
                 Costa Mesa, CA 92626-1947
102037659      +Merit Construction Alliance,     11481 SW Hall Blvd. #100,     Tigard OR 97223-8403
102037660      +Mike Bernards,    22365 SW Fisk Terrace,     Sherwood, OR 97140-8059
102037661      +North Coast Electric,    PO Box 34399,    Seattle, WA 98124-1399
102037662      +Northwwest Textbook Depository Co.,     17970 SW McEwan Rd.,     Portland, OR 97224-7777
102037665      +PAPE’,   PO Box 35144 #5077,     Seattle, WA 98124-5144
102037664      +Pacific Office Automation,     14747 NW Greenbrier Pkwy,     Beaverton, OR 97006-5601
102037666      +Platt Electric,    PO Box 418759,    Boston, MA 02241-8759
102039032      +Portland General Electric,     7895 SW Mohawk St,    Tualatin OR 97062-9192
102037667      +Portland General Electric,     PO Box 4438,    Portland, OR 97208-4438
102037668      +RoHillCo Business Services,     5 Mt Jefferson Terrace,     Lake Oswego, OR 97035-1438
102037669      +Ron Merryman,    14827 SW 91st Ave,    Portland, OR 97224-5777
102037670      +Sierra Springs,    200 Eagles Landing Boulevard,     Lakeland, FL 33810-3058
102037672     ++TOYOTA MOTOR CREDIT CORPORATION,     PO BOX 8026,    CEDAR RAPIDS IA 52408-8026
               (address filed with court: Toyota Financial Services,        PO Box 5855,    Carol Stream, IL 60197)
102037673      +TS5 Properties, LLC,    2000 NE 42nd Ave #277,     Portland OR 97213-1399
102037671      +The Mauss Company, P.C.,     14665 SW Klipsan Ct.,     Portland, OR 97223-5787
102067767      +Toyota Motor Credit Corporation,     PO Box 9013,    Addison, Texas 75001-9013
102037675      +WYSE Real Estate Advisors,     810 SE Belmont St, Suite 100,     Portland, OR 97214-2312
102037674      +Walters Wholesale Electric,     200 N Berry St.,    Brea, CA 92821-3903

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
102037637       E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Jun 06 2020 02:12:16       Capital One,
                 PO Box 30281,   Salt Lake City, UT 84130-0281
102037649      +E-mail/Text: bankruptcynotification@ftr.com Jun 06 2020 02:11:33       Frontier Communications,
                 PO Box 740407,   Cincinnati, OH 45274-0407
102037655      +E-mail/Text: sbse.cio.bnc.mail@irs.gov Jun 06 2020 02:11:08      IRS,
                 Centralized Insolvency Operation,    PO Box 7346,   Philadelphia, PA 19101-7346
102037658      +E-mail/Text: mobilemcfarland@gmail.com Jun 06 2020 02:11:03      McFarlands Mobile Mechanics,
                 9595 SW Tualatin-Sherwood Rd.,    Tualatin, OR 97062-8560
102037663      +E-mail/Text: bankruptcy.revenue@oregon.gov Jun 06 2020 02:10:59       ODR,
                 Attn: Bankruptcy Unit,   955 Center St. NE,    Salem, OR 97301-2555


                                Case 18-32288-pcm7          Doc     Filed 06/07/20
District/off: 0979-3                  User: Admin.                       Page 2 of 2                          Date Rcvd: Jun 05, 2020
                                      Form ID: pdf018                    Total Noticed: 56


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
102080782       E-mail/Text: bankruptcy.revenue@oregon.gov Jun 06 2020 02:10:59     ODR Bkcy,
                 955 Center St NE,   Salem OR 97301-2555
                                                                                            TOTAL: 6

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
102064524*        IRS,   PO Box 7346,   Philadelphia PA 19101-7346
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 07, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 5, 2020 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                                       Case 18-32288-pcm7                Doc       Filed 06/07/20
                                                                                       DISTRICT OF OREGON
                                                                                            FILED
                                                                                            June 05, 2020
                                                                                     Clerk, U.S. Bankruptcy Court



               Below is an order of the court.




                                                                      _______________________________________
                                                                                PETER C. McKITTRICK
                                                                                U.S. Bankruptcy Judge




O11to7e (8/1/16) cal                    UNITED STATES BANKRUPTCY COURT
                                                 District of Oregon

In re                                                          )
 Creative Lighting Solutions, Inc.                             )   Case No. 19−34296−pcm11
             Other names used by debtor: Creative Lighting     )
Debtor(s)                                                      )   ORDER CONVERTING
                                                               )   CHAPTER 11 CASE TO
                                                               )   CASE UNDER CHAPTER 7
                                                               )
                                                               )

A motion having been filed to convert the Chapter 11 case, and it appearing conversion is appropriate,
IT IS ORDERED that this case is converted to a case under Chapter 7 of United States Code Title 11.

IT IS FURTHER ORDERED that:

1.    Michael Bernards, who represents the debtor in the capacity of President, is designated, pursuant to Fed.
      Rule of Bankruptcy Procedure 9001(5), to perform the duties imposed upon the debtor(s) by United
      States Code Title 11, the Fed. Rules of Bankruptcy Procedure, and this Court's Local Rules.

2.    The debtor(s), or Chapter 11 trustee, if one appointed by the Court, must file, within 14 days of the above
      "Filed" date, all documents required by either ¶a or ¶b:

      a. (1) A complete set of Schedules, Statement of Affairs, and Local Bankruptcy Form 521.05 if the
         debtor(s) is an individual, with each detailing the debtor's status as of this conversion date; (2) if
         debtor(s) is an individual, an Official Form 122A−1 detailing the debtor's status as of the case filing
         date; and (3) a separate Mailing List, following the requirements of Local Bankruptcy Form 104, listing
         only new creditors whose unpaid debts were incurred after the filing of the Chapter 11 Petition and
         before this date of conversion.

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OR b. (1) A Declaration, under penalty of perjury, stating that all previously filed Schedules, Statement of
      Financial Affairs, and any amendments thereto, substantially reflect the condition of the debtor(s) and
      the estate on this date of conversion; (2) if debtor(s) is an individual, an Official Form 122A−1 detailing
      the debtor's status as of the case filing date; and (3) Schedules I & J detailing debtor's status at
      conversion, and Local Bankruptcy Form 521.05 if debtor(s) is an individual.

3.   If any new creditors are added to the case, including creditors on the mailing list referenced in paragraph
     2 of this order, the debtor(s) must serve the new creditors with the notice of meeting of creditors issued by
     the Court following conversion, and immediately file a certificate of service thereon with the clerk. The
     certificate of service shall be filed separately from the documents referenced in paragraph 2. Any
     certificate of service filed more than 14 days after entry of this order must be filed under LBF 728 Notice
     of Debtor's Amendment of Mailing List or Schedules D, E, F, E/F, G, H with the associated fee.

4.   If debtor(s) fails to comply with pt. 2 above, a Show Cause hearing will be set, and the debtor(s) (or
     designated person in pt. 1 above) must appear before the Court to explain the reasons, if any, for the
     failure to obey a lawful Court order. If the failure to obey is not adequately explained, the Court may (a)
     order a third person to perform the above duties and enter a judgment against the debtor(s) to pay such
     person reasonable compensation for the services performed and other reasonable costs; (b) deny the
     debtor's discharge for failure to obey a lawful order of the Court; (c) dismiss this case; or (d) order such
     other relief as the Court may deem appropriate.

5.   Any Court appointed Chapter 11 trustee must, within 35 days of the above "Filed" date, file a final account
     on Local Bankruptcy Form 1198 with estate information from the filing date to this date of conversion.

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